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              IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                      SOUTHERN DIVISION

STATE OF MISSISSIPPI; STATE OF
ALABAMA; STATE OF ARKANSAS;                        Case No. 1:22-cv-113-HSO-RPM
COMMONWEALTH OF
KENTUCKY; STATE OF                                 Plaintiffs’ Response in Opposition
LOUISIANA; STATE OF MISSOURI;                      to Motion for Leave to Participate as
and STATE OF MONTANA,                              Amici Curiae in Summary Judgment
                          Plaintiffs,              Hearing

v.

XAVIER BECERRA, in his official
capacity as Secretary of Health and
Human Services; THE UNITED
STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
CHIQUITA BROOKS-LASURE, in her
official capacity as Administrator of the
Centers for Medicare and Medicaid
Services; THE CENTERS FOR
MEDICARE AND MEDICAID
SERVICES; THE UNITED STATES
OF AMERICA,
                                 Defendants.

      Plaintiffs—the States of Mississippi, Alabama, Arkansas, Louisiana, Missouri,

and Montana and the Commonwealth of Kentucky—respond to the Motion to for

Leave to Participate as Amici Curiae in Summary Judgment Hearing filed by Movants

the Greensboro Health Disparities Collaborative and the NAACP State Conferences

for Alabama, Arizona, Arkansas, Kentucky, Louisiana, Missouri, Mississippi, and

Montana (Doc. 112, 113) and state:



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      1.     On May 5, 2022, Plaintiffs (along with certain individual plaintiffs) filed a

complaint against Xavier Becerra, in his official capacity as Secretary of Health and

Human Services; Chiquita Brooks-LaSure, in her official capacity as Administrator of

the Centers for Medicare and Medicaid Services; the Centers for Medicare and Medicaid

Services; the United States Department of Health and Human Services; and the United

States of America. The complaint alleged that Defendants violated federal law by

adopting an Anti-Racism Rule that encourages doctors to elevate race over medical

treatment.

      2.     On March 28, 2023, this Court granted in part and denied in part

Defendants’ motion to dismiss the complaint. The Court ruled, in part, that Plaintiffs

“sufficiently alleged that they have standing to sue due to injury to their sovereign

interest in the enforcement of their laws” and that “judicial review of whether the Anti-

Racism Rule qualifies as a clinical practice improvement activity” is not precluded by

federal law. Colville v. Becerra, 2023 WL 2668513, at *20 (S.D. Miss. Mar. 28, 2023).

Subsequently, this Court ordered Plaintiffs to file their early dispositive motion for

summary judgment by June 9, 2023. See Doc. 73.

      3.     On May 11, 2023, Movants filed a Motion to Intervene as Defendants and

accompanying Memorandum of Law in Support. See Doc. 61, 62. State Plaintiffs and

the government Defendants opposed the motion. See Doc. 75, 76, 77.

      4.     On June 9, 2023, State Plaintiffs filed an early motion for summary

judgment. Doc. 78, 79. On July 12, 2023, this Court denied Movants motion to

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intervene. Doc. 87. This Court instead granted Movants leave to appear as amici curiae.

Id.

       5.     On July 28, 2023, Defendants filed their cross-motion for summary

judgment and their opposition to State Plaintiffs’ motion for summary judgment. Doc.

90, 91, 92.

       6. On August 4, 2023, Movants filed their amicus brief. Doc. 96.

       7. On September 5, 2023, State Plaintiffs filed their opposition to Defendants’

cross-motion for summary judgment and rebuttal to Defendants’ opposition to State

Plaintiffs’ motion for summary judgment. Doc. 108, 109.

       8. On September 29, 2023, Movants filed their Motion for Leave to Participate

as Amici Curiae in Summary Judgment Hearing. Doc. 112, 113.

       6. This Court should deny Movant’s motion. Plaintiffs’ response is premised on

the foregoing points and those set forth in their accompanying Memorandum of

Authorities filed simultaneously with this Response.

       FOR THESE REASONS, Plaintiffs request an order denying Movants’ Motion

to Leave to Participate as Amici Curiae in Summary Judgment Hearing.




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Dated: October 13, 2023                     Respectfully submitted,

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*pro hac vice
**pro hac vice pending
***pro hac vice forthcoming

                          CERTIFICATE OF SERVICE
       I e-filed this opposition with the Court, which will email everyone requiring

service.

       Dated: October 13, 2023                               s/ Cameron T. Norris


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